                       Case 21-21053-jrs           Doc 79-8      Filed 11/24/21 Entered 11/24/21 17:05:12                          Desc
                                                               Exhibit F Page 1 of 3
     Analyzed Business Checking
     Account number:                     5152   October 1, 2021 - October 31, 2021       Page 1 of 3




                                                                                             Questions?
                                                                                             Available by phone 24 hours a day, 7 days a week:
                                                                                              1-800-CALL-WELLS (1-800-225-5935)
     EXTRUSION GROUP, LLC                                                                    Online: wellsfargo.com
     1425 MARKET BLVD
     STE 530-123                                                                             Write: Wells Fargo Bank, N.A. (297)
     ROSWELL GA 30076-6708                                                                          P.O. Box 6995
                                                                                                    Portland, OR 97228-6995




               IMPORTANT ACCOUNT INFORMATION

     Revised USPS service standards effective 10/1/21

     Effective October 1, 2021, the United States Postal Service (USPS) has revised its service standards for certain
     First-Class Mail items, resulting in a delivery window of up to five days. Please note this may delay your receipt of
     mail from us and our receipt of mail from you. Please take this change into account when mailing items to us via
     USPS.

     Consider signing into Wells Fargo Online® for quicker access to your account information.



     Account summary
     Analyzed Business Checking
     Account number                       Beginning balance              Total credits                    Total debits              Closing balance
            5152                                $40,352.89                    $80.56                     -$40,433.45                          $0.00


     Credits
        Electronic deposits/bank credits
        Effective         Posted
        date              date                    Amount      Transaction detail
                          10/22                      0.01     Bank Originated Acct Closing
                          10/26                     80.55     Client Analysis Srvc Chrg 211025 Rev Chge 0921                       5152
                                                   $80.56     Total electronic deposits/bank credits
                                                   $80.56     Total credits




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            (297)
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     Account number:                     5152      October 1, 2021Exhibit  F31, Page
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     Debits
        Electronic debits/bank debits
        Effective         Posted
        date              date                      Amount    Transaction detail
                          10/01                      505.27   ACH Prep Origintn - Artechnical - File 7878782339 Coid 1454880194
                                                              Artechnical Solutions
                          10/01                    5,564.00   ACH Prep Origintn - Artechnical - File 7878782339 Coid 1454880194
                                                              Artechnical Solutions
                          10/01                      886.32 < Business to Business ACH Debit - Charter Hr, Inc. Draft 211001 004 00000283
                                                              Extrusion Group, LLC
                          10/01                    5,049.36 < Business to Business ACH Debit - Charter Hr, Inc. Draft 211001 004 00000283
                                                              Extrusion Group, LLC
                          10/04                        9.95   Recurring Payment authorized on 10/01 Ninja Number 833NE Jreeder@Voice
                                                              GA S301274677930174 Card 0412
                          10/04                       35.75   Recurring Payment authorized on 10/01 Ninja Number 833NE Jreeder@Voice
                                                              GA S461274678694701 Card 0412
                          10/04                   28,302.24   Withdrawal Made In A Branch/Store
                          10/12                       80.55   Client Analysis Srvc Chrg 211008 Svc Chge 0921                 5152
                          10/26                        0.01   Client Analysis Srvc Chrg 211025 Svc Chge 0921                 5152
                          10/27                        0.00   Payoff Debit, Non-Interest Without Fee
                                                 $40,433.45        Total electronic debits/bank debits
                                                 $40,433.45        Total debits
        < Business to Business ACH: If this is a business account, this transaction has a return time frame of one business day from post date. This time frame does
        not apply to consumer accounts.




     Daily ledger balance summary
        Date                                      Balance    Date                                    Balance      Date                                    Balance
        09/30                                   40,352.89    10/12                                    -80.55      10/26                                      0.00
        10/01                                   28,347.94    10/22                                    -80.54      10/27                                      0.00
        10/04                                        0.00
                     Average daily ledger balance                $2,706.97




     Our National Business Banking Center customer service number 1-800-CALL-WELLS (1-800-225-5935) hours of
     operation have temporarily changed to 7:00 a.m. to 11:00 p.m. Eastern Time, Monday through Saturday and Sunday
     9:00 a.m. to 10:00 p.m. Eastern Time. Access to our automated banking system, the ability to report a fraud claim on
     your business credit or debit card, and access to report a lost or stolen business card will continue to be available 24
     hours a day, 7 days per week. Thank you for banking with Wells Fargo. We appreciate your business.




     This statement includes an account that has been closed and this is your final statement for that account. You will
     have 90 days to retrieve historical online documents for this account. Please refer to the Fee & Information Schedule
     for options to obtain statement copies after 90 days.

     If the account that has been closed is the primary account on the statement that includes multiple accounts (a "combined
     statement"), this is also the final combined statement and you will also have 90 days to retrieve historical online documents for all


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     accounts associated with this combined statement. Going forward, you will receive separate statements for any accounts that
     remain open.

     Thank you for banking with Wells Fargo.




     NOTICE: Wells Fargo Bank, N.A. may furnish information about accounts belonging to individuals, including sole
     proprietorships, to consumer reporting agencies. If this applies to you, you have the right to dispute the accuracy of
     information that we have reported by writing to us at: Overdraft Collections and Recovery PO Box 5058 Portland, OR.
     97208-5058. You must describe the specific information that is inaccurate or in dispute and the basis for any dispute with
     supporting documentation. In the case of information that relates to an identity theft, you will need to provide us with an
     identity theft report.




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